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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OFAJ.4BIA
                                 NORTHERN D1L \4 C.,

WEST ALABAMA WOMEN'S CENTER and                                      10 P 3: 2
WILLIAM J. PARKER, M.D., on behalf of                   i5
themselves and their patients,                                  11

                                                      CIL ACTION

                                                                                        174k IfI
                        Plaintiffs,
                                                      Case
V.

DONALD E. WILLIAMSON, M.D., in his                    COMPLAINT
official capacity as State Health Officer,

                        Defendant.

        Plaintiffs, by and through their undersigned attorneys, bring this Complaint against the

above-named Defendant, his employees, agents, and successors in office, and in support thereof

allege the following:

                                  PRELIMINARY STATEMENT

                Plaintiffs West Alabama Women's Center ("WAWC" or "the Clinic"), the sole

abortion clinic in Tuscaloosa and one of only two providers of abortions throughout the second

trimester in the state, and William J. Parker, M.D., WAWC's physician and Medical Director

("Dr. Parker"), bring this as-applied challenge under the U.S. Constitution and 42 U.S.C. § 1983,

on behalf of themselves and their patients, to Ala. Admin. Code r. 420-5-1-.03(6)(b) ("the

Regulation"). A copy of the Regulation is attached hereto as Exhibit A.

        2.      The Regulation requires that every physician who performs an abortion at a

licensed abortion clinic have staff privileges at a local hospital or, in the alternative, that the

clinic enter into a written agreement with a local physician who has such privileges to serve as

the clinic's outside covering physician. However, the only hospital in Tuscaloosa is unwilling to

grant Dr. Parker privileges for reasons unrelated to his competency as an abortion provider. in
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addition, no ob-gyn in the Tuscaloosa area is willing to serve as the Clinic's outside covering

physician, due to anti-abortion sentiment and/or fear of being publicly associated with an

abortion clinic. As a result, after more than two decades of providing safe and legal abortion

care in Tuscaloosa, WAWC has been forced to suspend patient services.

       3.      WAWC's closure has caused and will continue to cause significant and

irreparable hai-rn to the health and safety and constitutional rights of women seeking abortion in

Alabama. Having exhausted all other options to reopen the Clinic, absent injunctive relief from

this Court, WAWC will be forced to close its doors for good. This will cause further harm to the

health of Alabama women seeking abortions, and will deprive many women of their

constitutional right to abortion. Plaintiffs therefore seek declaratory and injunctive relief from

those constitutional deprivations.

       4.      Almost all of the factual and legal questions raised by this action were already

decided by the Court in a related action currently pending in this district (the "PPSE litigation")

in which the Court has enjoined a statutory (as opposed to regulatory) requirement that all

physicians performing abortions in licensed abortion clinics have staff privileges at a local

hospital. See Planned Parenthood Southeast, Inc. v. Bentley, No. 2:1 3-cv-00405-MHT-TFM

ECF Nos. 49, 238 (hereinafter "PPSE docket").

                                 JURISDICTION AND VENUE

       5.      This Court has Subject matter jurisdiction over Plaintiffs' federal claims under 28

U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3)—(4).

       6.      Plaintiffs' action for declaratory and injunctive relief is authorized by 28 U.S.C.

§ 2201 and 2202 and by Rules 57 and 65 of the,            Rules of Civil Procedure.




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        7.      Venue is proper pursuant to 28 U.S.C. § 1391 (b)(1) because the Defendant who is

sued in his official capacity carries out his official duties at an office located in this district.

                                               PARTIES

A.      Plaintiffs

                Plaintiff WAWC has provided safe and legal abortions for more than twenty

years. In addition to abortions, WAWC also provides a range of high-quality reproductive health

services, including contraceptive counseling and care, testing and treatment for sexually

transmitted infections, pregnancy testing an4 options counseling, and referrals for prenatal care

and adoption services.

        9.      Plaintiff WAWC is currently, and always has been, the sole licensed abortion or

reproductive health center in Tuscaloosa. WAWC is also one of only two licensed clinics in

Alabama that provides abortions throughout the second trimester. For at least the last two years

for which statistics are available, if not longer, WAWC has been the highest-volume abortion

provider in the state.

        10.     Plaintiff Dr. Parker is an experienced and highly-credentialed board-certified

obstetrician/gynecologist ("ob-gyn") and abortion provider, and is the sole physician and

Medical Director of WAWC.

B.      Defendant

        11.     Defendant Donald E. Williamson, M.D., is the State Health Officer at the

Alabama State Department of Public Health, located at 201 Monroe Street, Montgomery,

Alabama. Among other things, he is responsible for supervising and directing all activities of the

State Department of Public Health, pursuant to Ala. Code § 22-2-2 et seq., including the

licensing, inspecting, and disciplining of abortion or reproductive health care centers, see Ala.

Code § 22-21-20 et seq.; Ala. Admin. Code r. 420-5-1 -.01 et seq. As such, Defendant

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Williamson is responsible for enforcing the staff privileges and covering physician requirements

of the Regulation at issue in this case, Ala. Admin. Coder. 420-5-1-.03(6)(b). Defendant

Williamson is sued in his official capacity.



                     REGULATORY AND STATUTORY FRAMEWORK

A.      Challenged Regulation

        12.     Plaintiff WAWC is licensed as an "abortion or reproductive health center" by the

Alabama Department of Public Health ("DPH").

        13.     DPH has the authority to promulgate rules and re gulations concerning the

licensing of abortion clinics. See Ala. Admin. Coder. 420-5-1-.01. DPH also has the authority

to grant a waiver Or variance from any such rule, provided that the rule does not restate a

statutory requirement or define any terms. See Ala. Admin. Coder. 420-1-2-.09.

        14.     Among these regulations governing the licensure of abortion clinics is the

Regulation, see ¶ 1, supra, the provision at issue in this case. See Ala. Admin. Code r. 420-5-1 -

.03(6)(b).

        15.    The Regulation mandates, as a condition of licensure, that abortion clinics comply

with either of the following requirements: (1) that "every physician that performs an abortion

shall have staff privileges at an acute care hospital within the same standard metropolitan

statistical area as the abortion or reproductive health center is located, that permit him or her to

perform dilation and curettage, laparotomy procedures, hysterectomy, and any other procedures

reasonably necessary to treat abortion-related complications," or (2) that a licensed abortion

clinic obtain "a valid written contract" for "outside covering physician services" with a physician

who "has staff privileges at a hospital within the same standard metropolitan statistical area that



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permit him or her to perform dilation and curettage, lapatotomy procedures, hysterectomy, and

any other procedures necessary to treat abortion-related complications." Id.

        16.     Failure to comply with the Regulation can lead to suspension and/or revocation of

a clinic's license. See Ala. Code § 22-21-25.

B.      Staff Privileges Statute and Related Proceedings

        17.     In April 2013, the Alabama Legislature passed Alabama House Bill 57, Reg.

Sess., (2013) ("H.B. 57" or "the staff-privileges statute"), which would have required all

physicians providing abortions at a licensed abortion clinic to obtain staff privileges to perform

complex gynecological surgical procedures at a hospital within the same metropolitan statistical

area as the clinic. See Ala. Code § 26-23E-4(c).

        18.    The staff-privileges statute thus expanded the preexisting regulatory requirement

(the Regulation at issue in this lawsuit), eliminating the "outside covering physician" option.

        19.    On June 11, 2013, three of Alabama's five licensed abortion clinics—

Reproductive Health Services ("RI-IS") in Montgomery and Planned Parenthood Southeast

("PP SE") health centers in Birmingham and Mobile—filed a constitutional challenge to the staff-

privileges statute in the Middle District of Alabama. See PPSE docket, Compl. (doc. no. I),

        20.    Plaintiff WAWC was not a party to the PPSE litigation because, at the time of

filing and through trial, the Clinic's sole physician had staff privileges at the DCH Health System

("DCH") in Tuscaloosa.

       21.     On June 28, 2013, the District Court granted the PPSE litigation plaintiffs' motion

fora temporary restraining order. See PPSE docket, June 28, 2013 Op. and Order (doc. no. 49).

That order remains in effect today. See PPSE docket, Aug. 4, 2014 Op. (doc. no. 238).

       22.     From May to June 2014, the District Court held an eleven-day bench trial on the

constitutionality of the staff privileges statute. At trial, the Court considered evidence and
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testimony regarding, among other things, the following issues, all of which are relevant in this

case as well

             • the availability of abortion in Alabama;
             • the safety of abortions and the medical standard of care for management of
                 complications;
             • the obstacles that women in Alabama would face if clinics. Were forced to close
                 and women were required to travel outside their home cities and/or longer
                 distances to obtain abortions-
             6 the extreme difficulties clinics face in attempting to find doctors willing to
                 provide abortions or serve as the clinics' outside covering physicians; and
             • the inability of abortion providers in Alabama to obtain staff privileges at local
                 hospitals.


       23.      On August 4, 2014 the Court issued an opinion declaring the staff-privileges

statute unconstitutional as applied to the plaintiffs in that case. See PPSE docket, Aug. 4, 2014

Op. (doc. no. 238).

       24.      On August 4, the Court also requested further briefing as to the questions of facial

relief, permanent injunctive relief, and severability. See PPSE docket, Briefs on the Scope of

Final Relief (doc. nos. 250, 256, 257). The Court has not issued an order as to the scope of final

relief, and the temporary restraining order remains in effect.

       25.      To the extent temporary restraining order remains in effect, the staff-privileges

statute is unenforceable and WAWC is therefore subject to the Regulation, which allows clinics

either to obtain staff privileges or a written contract with an outside covering physician.

However, if the Court grants only as-applied relief in the PPSE litigation, WAWC will become

Subject to the staff-privileges statute and the requirements for licensure will change accordingly.




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                                        PRESENT ACTION

A.      Abortion in Alabama

        26.     Dr. Louis Payne (who is now retired) and Ms. Gloria Gray founded WAWC in

1993.

        27.     As a licensed abortion clinic, WAWC is subject to extensive regulations,

including but not limited to those relating to patient care, infection control, personnel, physician

qualifications, fire evacuation plans, emergency communications, recordkeeping, and physical

plant requirements (such as minimum doorway and room sizes, interior finishes and flooring

material, and emergency exists). See Ala. Admin. Coder. 420-5-1-.01 et seq. DPH conducts

extensive annual surveys of WAWC to ensure compliance with the regulations.

        28.     Today, WAWC is one of only five such licensed clinics in the state. The other

clinics are: RHS in Montgomery, PPSE Birmingham, PPSE Mobile, and Alabama Women's

Center in Huntsville.

        29.     WAWC and Alabama Women's Center are the only licensed clinics in Alabama

that provide abortions throughout the second trimester. WAWC provides medication abortions

through nine weeks of pregnancy and surgical abortions up to twenty-one weeks and six days

(21.6) gestation, as measured from the woman's last menstrual period ("LJvIP"). None of the

other licensed clinic in the states provides abortions past 15.0 weeks LMP.

        30.    On information and belief, WAWC provided more abortions than any other clinic

in the state by a large margin for at least the last three years. According to published statistics, in

2013, WAWC performed approximately 39% of the abortions in Alabama (3,503 procedures),

more than double the number of procedures performed by the clinic with the second-highest

volume (1,451 procedures); and in 2012, WAWC performed approximately 44% of the abortions

in Alabama (3,710 procedures), more than 2.5 times the number of procedures performed by the
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clinic with the second-highest volume (1,469). Although published statistics are not yet

available for 2014, WAWC '5 own records indicate the Clinic performed 4,723 abortions last

year. This is Over three times more than any other clinic in Alabama has ever performed in any

prior year for which statistics are available.

        31.     WAWC also provided more second-trimester abortions than any other clinic in

the state. In 2012 and 2013, WAWC performed more than 60% of the second-trimester

abortions in the state, and performed nearly 80% of abortions between seventeen and 21.6 weeks

LMP (the state's legal limit).

        32.     Approximately one in three women in this country will have an abortion by age

45. Most women having abortions (6 1%) already have at least one child, and 66% plan to have

children when they are older, financially able to provide necessities for them, and/or are in a

supportive relationship with a partner so their children will have two parents.

        33.     Women seek abortions for a variety of reasons, including familial, medical,

financial, and personal reasons, including the desire to wait to have a child (or another child)

until they are ready; to preserve their life or their health; because they have become pregnant as a

result of rape; and/or because they choose not to have biological children.

       34       While the vast majority (more than 80%) of the abortions performed at WAWC

are performed in the first trimester, women who seek second-trimester abortions usually do so

because of difficult circumstances. Many women are forced to obtain an abortion at later

gestational ages because of issues related to poverty, intimate partner violence, and overall

diminished access to abortion throughout the South. Others decide to have an abortion only after

learning the fetus has been diagnosed with a severe, even lethal, anomaly (many of which cannot

be diagnosed until later in pregnancy).
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        35.     Most of WAWC ' s patients are low-income women. More than 82% are living at

or below 110% of the federal poverty level. Many struggle to cover the cost of the abortion, as

well as other costs related to the procedure (e.g., transportation, child care, lost wages).

B.      Plaintiffs' Inability to Comply with the Re2ulation

        36.     Dr. Payne retired from the practice of medicine on December 31, 2014. Until that

time, WAWC was in compliance with the Regulation because Dr. Payne held staff privileges to

perform the requisite surgical procedures at DCH Regional Medical Center and Northport

Medical Center (both operated by the DCH Health System) in Tuscaloosa.

        37.     DCH is the sole hospital System in Tuscaloosa.

        38.     Before Dr. Payne's retirement, Plaintiff Dr. Parker agreed to move to Tuscaloosa

in order to apply for staff privileges and to succeed Dr. Payne as the Medical Director of WAWC

and serve as its sole full-time physician. In December 2014, Dr. Parker began the process of

applying for staff privileges to perform gynecological surgery at DCH.

        39.     By the beginning of April 2015, it became clear that, despite Dr. Parker's diligent

efforts, he would not be able to obtain staff privileges. This is so not because of any issue related

to Dr. Parker's competence as an abortion provider but because abortion is such a safe

procedure.

       40.      DCH will not grant him privileges unless he can personally admit ten patients for

hysterectomies and ten patients for laparoscopic procedures to the hospital and submit those

cases for review in the next year. Because Dr. Parker has been, and will continue to be a full-

time outpatient abortion provider and because abortion is extremely safe, Dr. Parker would not

be able to admit anywhere near the twenty cases to the hospital necessary to satisfy DCH's

requirements.
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        41.      In fact, in the eight years he has provided abortions, none of Dr. Parker's abortion

patients has ever experienced a complication that resulted in a hysterectomy, let alone 10 patients

in a single year.

        42.      Thus, Plaintiffs cannot obtain staff privileges that will satisfy the Regulation.

        43.      Ms. Gray is not aware of any other physician in Tuscaloosa, or anywhere else in

Alabama, who is willing and able to provide abortions at WAWC and who could meet DCH's

criteria for staff privileges.

        44.      Nor can Plaintiff WAWC comply with the Regulation's covering physician

requirement.

        45.      Ms. Gray has contacted, or tried to contact, every other known ob-gyn in the

Tuscaloosa area with privileges at DCH who might be willing to serve as an Outside cOvring

physician. These physicians have either rejected Ms. Gray's request because of opposition to

abortion or fear of personal, professional, and/or economic consequences of being associated

with an abortion clinic, or have refused to speak to her outright.

        46.      Because compliance with the Regulation was impossible, on May 6, 2015,

Plaintiff WAWC applied to DPH for a waiver from the Regulation, pursuant to Ala. Admin.

Code r. 420-1-2-.09.

        47.     Defendant Williamson may grant a waiver from a licensing regulation "when

such waiver or variance is based upon a compelling public health need. . or the occurrence of

an event or circumstance that makes strict compliance with a rule highly impractical or

impossible." Ala. Admin. Code r. 420-1-2-.09(b).

        48.     In support of its application, WAWC submitted a statement from Plaintiff Dr.

Parker (and his curriculum vitae) concerning abortion safety and his inability to obtain staff



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privileges, as well as copies of WAWC's safety policies and protocols. On May 12, WAWC

supplemented its application with a statement from Mr. Dalton Johnson, the owner and

administrator of Alabama Women's Center in Huntsville. Mr. Johnson's statement provided

data demonstrating that WAWC's closure is preventing some women from obtaining abortions,

forcing others to obtain abortions later in pregnancy, and stretching the Huntsville clinic to its

maximum capacity.

       49.     On May 22, Defendant Williamson denied the request for a waiver without any

reference to the evidence that WAWC's closure has caused and continues to cause ongoing harm

to Alabama women.

C.      Safety of Abortion and Treatment of Abortion Complications

        50.    The Regulation is medically unnecessary because WAWC's policies and

protocols ensure their patients would receive the same level and quality of care in the event of a

complication as they would if the Clinic had an outside covering physician.

        51.    Legal abortion is one of the safest and most common procedures in contemporary

medical practice.

       52.     A recent peer-reviewed study of first trimester abortions found that only 0.89% of

abortion procedures performed by physicians resulted in any complication whatsoever; only

.05% patients experienced complications that resulted in hospital admissions. Plaintiffs'

hospitalization rates, including those for second-trimester abortions, are even lower.

       53.     Although abortion remains very safe throughout pregnancy, the risk of

complications, as well as the cost of the procedure, increases as gestational age advances.

       54.     Of the very few complications that do occur, almost all are safely and

appropriately managed in the clinic setting, either at the time of the procedure or in a follow-up


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visit. The physician and clinical staff remain at the Clinic until every patient has been certified

as fit for discharge.

        55.     In the extremely rare event of a complication that requires hospital-based

treatment, WAWC's policies and protocols ensure that a woman will receive high-quality care.

        56.     Upon discharge, all of WAWC's patients are provided with a phone number for a

24-hour hotline (staffed by a registered nurse and Plaintiff Dr. Parker) that they can call

regarding any complications, questions, and concerns that arise after they have left the clinic. In

most cases, the patients' questions, concerns or complications can be addressed over the phone,

or through a return visit to the clinjc; many patients just need reassurance that their symptoms are

normal and will subside. If a return visit is necessary, the patient is given an appointment on the

next day that the Clinic is open.

        57.     If Dr. Parker determines that a patient who contacts the after-hours hotline should

be treated or evaluated by a physician sooner, he will refer the patient to a local emergency

roomy If Dr. Parker knows where the woman intends to go, he will contact the treating

emergency room physician prior to the patient's arrival to explain the patient's clinic treatment,

complaint, and the reason for her referral to the emergency room. If the patient does not .provide

Dr. Parker with this information, he will instruct her to bring his phone number with her

wherever she goes to give to the emergency room physician.

        58.     Many WAWC patients come from outside the Tuscaloosa area. Consistent with

the standard of care, if any Of these patients were to experience a complication after returning

home, they would be referred to a local hospital in their area rather than a hospital near the clinic,

making entirely irrelevant whether Dr. Parker has staff privileges or an arrangement with a

covering physician at a local hospital.



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        59.     In the exceedingly rare event that a patient needs to be transferred directly from

the clinic to the hospital, Dr. Parker and WAWC staff would stabilize the patient and contact

emergency medical services. To ensure continuity of care, Plaintiff Dr. Parker would

communicate directly with the emergency room physician treating the patient. The emergency

room physician would then involve on-call physicians at the hospital as is necessary and

appropriate.

        60.     These policies and protocols are consistent with or exceed the standard of care for

outpatient medical procedures.

        61.     There is an increaSing divide between inpatient and outpatient medicine in

contemporary practice, with inpatient care handled more and more often by physicians who

regularly or even exclusively provide care in hospital settings.

        62.     It is outside the standard of care to require every physician that performs

exclusively outpatient procedures (i.e., abortion) to obtain staff privileges at a local hospital, let

alone staff privileges to perform complex surgical procedures, as is required by the Regulation.

        63.     In Alabama, physicians who perform outpatient procedures other than abortion in

an office-based setting, even procedures that pose more risk than abortion, are not required to

obtain staff privileges at a local hospital, let alone staff privileges to perform complex surgical

procedures, as required by the Regulation.

        64.    On information and belief, the physicians at three of the five Alabama clinics

(RHS, PPSE Birmingham, and PPSE Mobile) do not have staff privileges anywhere in Alabama.

Instead, these clinics remain open by virtue of the temporary restraining order and declaration in

the PPSE litigation. These clinics currently satisfy the Regulation because they have a prior

written agreement with an outside covering physician who has staff privileges.



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        65.     In Alabama, physicians who perform outpatient procedures other than abortion in

an office-basedsetting, no matter how great the risk, are not required to obtain a prior written

agreement with an outside covering physician.

        66.     There is nothing in the law that requires a licensed abortion clinic to iflvOlVe, or

even notify, its outside covering physician in a patient's treatment in the event of a complication

that requires hospital-based care.

        67.     There is nothing in the law that requires an outside covering physician to give

priority to a clinic's patients over his or her own patients.

        68.     Unless the outside covering physician is the patient's personal ob-gyn, that

physician will have no prior relationship with the patient and will rely entirely on information

provided by the clinic and/or the providing physician.

        69.     Nothing in the Regulation requires the outside covering physician to have any

information about the procedure, or the clinic's policies and protocols.

        70.     Emergency room physicians and on-call obgyns are trained to treat any

gynecological complications that may occur after an abortion procedure.

        71.     If a complication is not of a gynecological nature, neither the physician who

provides the abortion nor the outside covering physician would be the appropriate physician,to

manage the patient's care in the hospital. In that case, the emergency room physicians and/or the

appropriate on-call specialist should treat her.

       72.     Because WAWC's policies and protocols ensure communication (whenever

possible) with the physician that assumes the patients' care in the event of a complication

WAWC's patients receive the same level and quality of care as do the patients of a clinic with a

prior written agreement with an outside covering physician.



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          73.    Requiring Dr. Parker to have hospital admitting privileges or requiring WAWC to

contract with an outside covering physician does not increase patient safety and is medically

unnecessary.

D.        Irreparable Injury Caused by the Regulation

          74.    Enforcement of the Regulation has inflicted and will continue to inflict significant

irreparable harm to Plaintiffs' patients.

          75.   Enforcement of the Regulation will lead to the permanent closure of WAWC.

Because qualified, experienced personnel are so integral to the operation of an abortion clinic,

WAWC has retained its staff in the hopes that it will be able to reopen. As a result, Ms. Gray has

been paying the Clinic's operating expenses, including staff salaries, while the Clinic has been

closed.

          76.   Ms. Gray has been financially maintaining the Clinic with money that would

otherwise have gone to her retirement. Due to continuing financial strain, the loss of staff, and

because additional payments become due at the beginning of August, absent an injunction by

August 4, Ms. Gray fears she will have no option but to close the Clinic permanently.

          77.. Permanent closure of WAWC will cause Ms. Gray to lose her livelihood and the

business she has maintained for more than twenty years.

          78.   Permanent closure of WAWC will prevent Dr. Parker from pursuing his chosen

profession and practicing medicine as an abortion provider in Tuscaloosa.

          79.   If WAWC closes permanently, there will be only four licensed abortion clinics

left in Alabama. There will be no licensed abortion clinics left in Tuscaloosa.

          80.   The forced closure of WAWC will impact the ability of thousands of women each

year, many of whom are in dire circumstances, to obtain safe, legal abortion services in

Alabama.

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        81.    Women who would have obtained an abortion at WAWC will be forced to travel

to the next nearest clinic. For women seeking abortions in the first trimester, this will likely be

in Birmingham, which is almost sixty miles from Tuscaloosa. For women seeking abortions

after 15.0 weeks LMP, their only option will be to travel to Alabama Women's Center in

Huntsville, which is more than 150 miles from Tuscaloosa.

        82.    For many women, the increased travel will make it extremely difficult, and in

many cases impossible, to obtain an abortion. It will cause delay, forcing some women to seek

abortions later in pregnancy when the procedure is more risky and more expensive, and will

prevent others from obtaining an abortion at all. Other women who are unable to surmount the

travel burdens will resort to unsafe self-abortion methods, thereby jeopardizing their health.

        83.    There is already evidence that these harms are occurring. For example, in the first

six months of 2015, the Montgomery clinic has seen more than a 100% increase in the number of

patients who have sought care at the clinic but who are past the clinic's fifteen-week gestational

cutoff, and has experienced a 50% increase in telephone calls from such women, as compared

with the same period in 2014. These women must be referred to Huntsville, which is nearly 200

miles from Montgomery.

        84.     Since WAWC closed, the Alabama Women's Center in Huntsville has

experienced a significant increase in the number of women calling from western Alabama.

Many of these women have expressly stated that they were unable to travel to Huntsville.

        85.    Some callers who have stated that they cannot travel the long distance to

Huntsville have asked Alabama Women's Center staff about the best way for a woman to take

matters into her own hands to induce an abortion if she is unable to travel.




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        86.     Since WAWC's closure, many women who have been able to reach the

Huntsville clinic have experienced unwanted delay in obtaining an abortion due to the difficulty

of traveling a long distance to reach the clinic.

        87.     Upon information and belief, the number of women who have obtained abortions

in Alabama in the months since WAWC closed is significantly smaller than the number of

women who obtained abortions in Alabama during the same period in 2014 when WAWC was

open.

        88.     Even if all of the women who would have sought abortion services at WAWC

were able to make the trip to one of the other providers in the state (which many cannot), the

other providers would not be able to accommodate this substantial influx of patients. Both RHS

in Montgomery and Alabama Women's Center in Huntsville are operating very close to, if not

at, their maximum capacity,

        89.     Upon information and belief, PPSE's health centers in Birmingham and Mobile

do not have the capacity to treat the thousands of women who seek abortion services at WAWC

each year.

        90.     Enforcement of the Regulation will therefore cause Plaintiffs' patients to suffer

irreparable harm by shutting down the highest-volume abortion provider in the state without

medical justification, and severely limiting the availability of safe abortion care in the state,

particularly in the second trimester of pregnancy, thereby jeopardizing women's health and

forcing women to continue their pregnancies to term against their will.

        91.    Plaintiffs' patients will also suffer irreparable harm from the violation of their

constitutional rights if the Regulation is not enjoined.




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                                      CLAIMS FOR RELIEF

                                               COUNT I

                            (Due Process - Patients' Right to Privacy)

        92.     The allegations of paragraphs 1 through 91 are incorporated as though fully set

forth herein.

        93.     The Regulation violates the Plaintiff's' patients' right to liberty and privacy as

guaranteed by the due process clause of the Fourteenth Amendment to the U.S. Constitution. As

applied to Plaintiffs, it is an unreasonable health regulation and imposes an undue burden on

women's right to choose abortion.

                                               COUNT 2

                           (Due Process - Right to Pursue Profession)

        94.     The allegations of paragraphs 1 through 91 are incorporated as though fully set

forth herein.

        95.     The Regulation violates rights of Plaintiffs to due process under the Fourteenth

Amendment to the U.S. Constitution. It makes Plaintiffs' ability to maintain their businesses and

pursue their chosen professions contingent entirely on the willingness of third parties to be

publicly associated with an abortion clinic.



       WHEREFORE, Plaintiffs respectfully request that the Court:

    1. declare Ala. Admin. Code r. 420-5-1-.03 unconstitutional under the Fourteenth

       Amendment to the United States Constitution as applied to Plaintiffs,

   2. enjoin Defendant, his employees, agents, and successors in office from enforcing Ala.

       Admin. Code r. 420-5-1-.03 without bond;

   3. award Plaintiffs costs and attorneys' fees pursuant to 42 U.S.C. § 1988; and

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   4. grant Plaintiffs such other, further, and different relief as the Court may deem just and

       proper.




Date: July 10, 2015                                  Respectfully submitt d,
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                                 CERTIFICATE OF SERVICE

        I, Randall Marshall, do hereby certify that a true and correct copy of the foregoing will be
perfected upon the following counsel of record                 on this Ciay of July, 2015:
                                                         '


P Brian Hale
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Dated:




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